                  IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


PLANNED PARENTHOOD SOUTH               )
ATLANTIC, et al.,                      )
                                       )                  CIVIL ACTION
                 Plaintiffs,           )                  Case No. 1:23-cv-480
                                       )
      v.                               )
                                       )
JOSHUA STEIN, et al.,                  )
                                       )
           Defendants.                 )
_______________________________________)


           MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’
           MOTION FOR TEMPORARY RESTRAINING ORDER AND
                     PRELIMINARY INJUNCTION

                                    INTRODUCTION

       The North Carolina legislature radically rewrote the state’s abortion restrictions

over the span of mere days, resulting in a law that is riddled with inconsistencies, irrational

requirements, and unconstitutional restrictions. Parts I and II of North Carolina Session

Law 2023-14 (“S.B. 20” or “the Act”), DE 1-1, bans abortion after the twelfth week of

pregnancy with a few narrow exceptions, makes existing restrictions on abortion more

onerous, and adds new, burdensome restrictions. Plaintiff Planned Parenthood South

Atlantic (“PPSAT”) and Plaintiff Beverly Gray, M.D., (together, “Plaintiffs”) seek a

temporary restraining order and preliminary injunction against the Act. Plaintiffs are likely

to succeed on the merits of their claims that the Act violates the First and Fourteenth

Amendments to the U.S. Constitution because the challenged provisions either impose

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vague standards on Plaintiffs, are impossible to comply with, are irrational, or violate the

Plaintiffs’ free speech rights. The provisions of the Act that go into effect on July 1, 2023,

should be enjoined in their entirety because Plaintiffs’ claims either reach the

constitutionality of the Act as whole, or would require enjoining unconstitutional

provisions that are so thoroughly intertwined with the core purpose of the Act, that their

omission would leave a statute unlike what the legislature intended to be enforced on its

own.

        If not enjoined before it goes into effect, the Act will impose irreparable harm to

Plaintiffs and their patients. Plaintiffs’ patients will be subject to unnecessary delays and

additional burdens in accessing care, in some cases, denying that care entirely. The Act

exposes Plaintiffs to potential criminal liability and disciplinary action, and chills their free

speech rights. The other preliminary injunction factors—the balance of equities and public

interest—likewise weigh heavily in favor of injunctive relief. For the foregoing reasons,

this Court should enjoin Parts I and II of North Carolina Session Law 2023-14 that go into

effect on July 1, 2023.1

                                 STATEMENT OF FACTS

  I.    Abortion Is Common, Safe, and Essential Health Care.

        Abortion is a basic component of comprehensive health care and is one of the safest

medical procedures in the United States. There are two main methods of outpatient


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         It is unclear whether section 90-21.82A takes effect on July 1, 2023, or October
1, 2023. If this provision does not take effect until October 1, 2023, Plaintiffs move only
for a preliminary injunction and not a temporary restraining order on this provision.

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abortion: procedural and medication. Although certain abortion methods (e,g., aspiration

abortion) are sometimes referred to as “surgical abortion,” and are referred to as such in

the Act, that is a misnomer, as they do not entail the typical characteristics of surgery, such

as an incision into bodily structures. Farris Decl. ¶ 15, attached as Exhibit 1; Compl. ¶ 54,

DE 1. These methods are more appropriately characterized as a procedure, or “procedural

abortion.”2 Procedural abortion is analogous to other gynecological procedures that take

place in outpatient settings in terms of risks, invasiveness, and duration. Farris Decl. ¶¶ 22,

37; Compl. ¶ 55. In addition to being identical to the procedure used to manage miscarriage,

procedural abortions are also identical to certain outpatient diagnostic procedures that are

used to remove tissue from the uterus for testing. Farris Decl. ¶¶ 22, 37; Compl. ¶ 55.

Procedural abortion is far safer than, for example, colonoscopies, and has been provided in

an outpatient setting in North Carolina for decades.3

       The medication abortion regimen in the first trimester typically involves two

medications: mifepristone and misoprostol. Farris Decl. ¶ 17; Compl. ¶ 45. The patient first

takes the mifepristone and then, several hours or days later (usually 24 to 48 hours), takes

the misoprostol. Farris Decl. ¶ 17; Compl. ¶ 45. Mifepristone can be provided pursuant to

an evidence-based regimen as soon as pregnancy is detected, and although mifepristone’s


       2
        Am. Coll. of Obstetricians & Gynecologists, Definition of “Procedures” Related
to Obstetrics and Gynecology (reaffirmed Mar. 2023), https://www.acog.org/clinical-
information/policy-and-position-statements/position-statements/2018/definition-of-
procedures-related-to-obstetrics-and-gynecology.
      3
         Elizabeth G. Raymond et al., Mortality of Induced Abortion, Other Outpatient
Surgical Procedures and Common Activities in the United States, 90 Contraception 476
(2014); Farris Decl. ¶¶ 29, 37.

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FDA-approved label reflects its usage through 70 days of gestational age, it is safely used

off-label at more advanced gestations. Farris Decl. ¶ 41.4

       Medication abortion and procedural abortion can both be safely provided in an

outpatient setting. Farris Decl. ¶¶ 14–15, 32–40; Compl. ¶¶ 55–58. Only 3% of abortions

nationwide are performed in hospitals, and abortions at outpatient clinics are often more

affordable, easier to navigate, and require less time for patients. Farris Decl. ¶ 32. There is

no medical reason to require abortions to take place in hospitals. Id. To the contrary, as is

true for nearly every medical procedure, fewer complications are seen in settings that

perform higher volumes of the same procedure, making abortion clinics like PPSAT safer

than hospitals for most abortion patients. Id. ¶ 34. Further, in the rare event that a

complication arises during a procedural abortion, the complication can nearly always be

managed in a clinic. Id. ¶ 38. And in the exceedingly rare event of a complication requiring

hospital-based care, established policies and protocols ensure the patient’s care is safely

transferred to a hospital-based provider. Id. ¶ 40; Compl. ¶ 60. These are the same policies

and protocols that are followed for comparable outpatient gynecological or other

procedures, as well as for those that carry greater risks. Compl. ¶ 60.

       Abortion is far safer than continuing a pregnancy to term and childbirth. Indeed, the

mortality rate for childbirth is approximately 12–14 times greater than that associated with



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         Am. Coll. of Obstetricians & Gynecologists, Medication Abortion Up to 70 Days
of Gestation (Reaffirmed 2023), https://www.acog.org/clinical/clinical-guidance/practice-
bulletin/articles/2020/10/medication-abortion-up-to-70-days-of-gestation; Farris Decl. ¶
18.

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abortion. Farris Decl. ¶¶ 28–30. For medication abortion in particular, adverse events

(including death, hospitalization, serious infection, and bleeding requiring transfusion)

among mifepristone patients are “exceedingly rare, generally far below 0.1% for any

individual adverse event.”5 Complications related to carrying a pregnancy to term and

childbirth are much more common than abortion-related complications. Farris Decl. ¶¶ 30–

31; Compl. ¶ 59.

II.    The Legislature Rushed to Enact S.B. 20, Resulting in Contradictory,
       Irrational, and Unconstitutional Restrictions on Abortion Care.

       Prior to the Act, abortion was broadly lawful in North Carolina before 20 weeks of

pregnancy. N.C. Gen. Stat. § 90-21.82 (2015). Patients seeking abortion were required to

obtain certain state-mandated information from a “qualified professional” 72 hours in

advance of the procedure, which could be given either in person or by telephone, and

providers were subject to certain reporting requirements. Id.

       S.B. 20 was passed with breathtaking speed and radically changes North Carolina’s

abortion restrictions in numerous ways: banning abortion after twelve weeks of pregnancy

with a few narrow exceptions, making the mandated counseling requirement more onerous

and requiring that it be done in person, and imposing much more burdensome reporting

requirements. The Act was negotiated by politicians behind closed doors and passed in less

than 72 hours with almost no time for public input or debate. Compl. ¶ 2.


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         U.S. Food & Drug Admin., Ctr. for Drug Evaluation & Rsch., Medical Review,
Application     No.       020687Orig1s020,     at    47     (Mar.    29,     2016),
https://www.accessdata.fda.gov/drugsatfda_docs/nda/2016/020687Orig1s020MedR.pdf;
accord Farris Decl. ¶ 28.

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       The Act provides: “It shall be unlawful after the twelfth week of a woman’s

pregnancy to advise, procure, or cause a miscarriage or abortion.” S.B. 20 § 90-21.81A

(the “Twelve-Week Ban”).6 After twelve weeks, there are limited exceptions, which

include: a) when a physician determines there is a medical emergency, id. § 90-21.81B(1);

b) through the twentieth week of pregnancy, when the pregnancy is a result of rape or

incest, id. § 90-21.81B(3); and c) during the first twenty-four weeks of pregnancy if a

qualified physician determines there exists a life-limiting anomaly, id. § 90-21.81B(4).

       The Act contains numerous inconsistencies, internal conflicts, and irrationalities in

the Twelve-Week Ban itself. Notably, the Act repeals N.C. Gen. Stat. § 14.45.1, which

listed the conditions under which abortion was lawful and was a critical cross-reference in

North Carolina’s fetal homicide statute, which makes it a crime, punishable by life in

prison, to willfully cause the death of an “unborn child.” N.C. Gen. Stat. § 14-23.2 (2011).

Accordingly, the Act creates confusion about whether lawful abortion remains exempted

from the fetal homicide statute.

       A physician providing an abortion-inducing drug7 must follow a host of restrictions,

including some that are contradictory. In one section, the Act states that abortion is lawful

“during the first 12 weeks of a woman’s pregnancy when a medical abortion is procured,”



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         All citations to the Act herein refer to the sections that are to be codified in the
General Statutes of North Carolina on the Act’s effective date.
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         The Act defines “Abortion-inducing drug” as “A medicine, drug, or any other
substance prescribed or dispensed with the intent of terminating the clinically diagnosable
pregnancy of a woman . . . . This includes the off-label use of drugs such as mifepristone
(Mifeprex), misoprostol (Cytotec), and methotrexate.” S.B. 20 § 90-21.81(1a).

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S.B. 20 § 90-21.81B(2), but in another section, it requires physicians who provide

medication abortion to “verify the probable gestational age of the unborn child is no more

than 70 days,” or ten weeks, id. § 90-21.83B(a)(6) (the “Ten-Week Verification

Requirement”). Compl. ¶ 49. The Act similarly requires physicians to “[d]ocument in the

woman’s medical chart the . . . intrauterine location of the pregnancy,” S.B. 20 § 90-

21.83B(a)(7) (the “Pregnancy Location Requirement”), but it is unclear whether physicians

can provide early medication abortion when a patient has a positive pregnancy test but it is

too soon to view the location of an intrauterine pregnancy.

       And although the Act provides an exception to the Twelve-Week Ban in cases of

rape or incest, it limits the provision of those procedures to hospitals. Id. §§ 90-21.81B(3),

90-21.82A(c) (the “Hospitalization Requirement”). This irrational limitation on one of the

safest medical procedures will further harm survivors of sexual assault without increasing

abortion safety.

       The Act also creates a host of new requirements for health care providers both before

and after an abortion. Under the Act, patients must make an in-person visit to receive

certain state-mandated information at least 72 hours before an abortion, but the Act is

internally inconsistent about whether that waiting period restarts if certain information is

not available 72 hours before the abortion. Compare S.B. 20 §§ 90-21.82(b)(1a) & (a), 90-

21.83A(b)(2) & (a) with § 90-21.83C (the “Additional 72-Hour Mandate”). The Additional

72-Hour Mandate does not explicitly incorporate the medical emergency exception

included in the other 72-hour waiting period sections, see id. §§ 90-21.82(b), 90-21.83A(b),



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suggesting that providers must wait 72 hours after providing the information required by

the section, even when there is a medical emergency.8 The Additional 72-Hour Mandate

also requires the provider to give information that in many circumstances will be

impossible to know 72 hours in advance of the abortion, such as whether the abortion is

covered by insurance.

       The Act also changes the reporting requirements in ways that make compliance

impossible. For example, it states that a “report completed under this section for a minor

shall be sent to the Department and the Division of Social Services within three days of the

surgical or medical abortion.” Id. § 90-21.93(a) (emphasis added) (the “Reporting

Requirement”). But the Act requires information to be included in the report that will not

be known within three days, Compl. ¶¶ 38, 68, including whether a minor who had a

medication abortion returned for the scheduled follow-up appointment fourteen days later

(S.B. 20 § 90-21.83A(b)(4)(l.)), and if the minor did not return, what reasonable efforts

were made to encourage them to do so, id. § 90-21.93(b)(8) & (9). Similarly, the report

must contain the amount of money billed for treatment of complications, id. § 90-

21.93(b)(11), but complications may not arise in three days, Compl. ¶ 68.

       Finally, if a person seeking an abortion is past twelve weeks in pregnancy and does

not meet one of the narrow exceptions, the Act is not clear as to whether people can assist


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         The informed consent provisions contain other inconsistencies that are nearly
identical to those litigated before and construed by the district court in Stuart v. Loomis,
992 F. Supp. 2d 585, 611 (M.D. N.C. 2014), and, therefore, PPSAT has made a motion
pursuant to Federal Rule of Civil Procedure 60(b) to amend the judgment in that case to
address those provisions.

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these individuals in seeking lawful abortion in other states. The Act states that “[i]t shall

be unlawful after the twelfth week of a woman’s pregnancy to advise, procure, or cause a

miscarriage or abortion.” S.B. 20 § 90-21.81A(a) (the “Advising Ban”). It is not clear if

this applies to, for example, providing information about how to obtain legal, out-of-state

abortions.

        A physician who violates the Act is subject to discipline by the North Carolina

Medical Board, and any other licensed health care provider who violates the Act is subject

to discipline under their respective licensing agency or board. Id. § 90-21.88A. Moreover,

certain provisions of the Act carry criminal penalties. Relevant here, providing an abortion

that does not fit within the Act’s exceptions to the Twelve-Week Ban is a felony. Id. § 90-

21.81B; see also id. §§ 14-44 and 14-45.

III.    The Act’s Restrictions Inflict Irreparable Harm on Plaintiffs and Their
        Patients.

        Due to inconsistent, vague, and impossible-to comply-with provisions, the Act will

harm Plaintiffs and their patients by delaying—and even, at times, denying them—

necessary health care. For example, under the Additional 72-Hour Mandate, the patient

must be provided with the physician’s name and hospital admitting privileges and told

whether the abortion is covered by the patient’s insurance. S.B. 20 § 90-21.83C. But given

Plaintiffs’ busy medical practices as well as the complexity of their patients’ lives, the

name of the doctor sometimes changes in the 72 hours before the abortion, including when

a doctor has an urgent matter with another patient at another facility, when a doctor or

patient is ill, or when a patient is unable to attend their appointment as initially scheduled.

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Compl. ¶ 63. Additionally, it is often impossible to tell the patient whether an abortion will

be covered by insurance because many insurance companies do not determine coverage

until after the abortion. Id. ¶ 67. Others may deny coverage weeks after the fact for myriad

reasons. Id.

       The Act is inconsistent as to whether the 72-hour period must be restarted if the

name of the physician changes or whether the waiting period cannot start at all if the

physician’s name is not known 72 hours in advance, and is silent as to how to proceed if

insurance coverage information is unknown. Forcing patients to wait another 72 hours in

these circumstances will push the patient further into their pregnancy and possibly beyond

the new 12-week limit. Compl. ¶ 64. Patients would be forced to reschedule their

appointment and rearrange time off from work, childcare, and/or transportation. Id.

Relatedly, to the extent that the Additional 72-Hour Mandate compels physicians to

withhold life- or health-saving abortion care to a patient because the patient was not

provided with, e.g., information about the physician’s hospital admitting privileges 72

hours earlier, it subjects patients to gratuitous suffering, severe injury, or even death. Id. ¶

66.

       The Act’s inconsistencies as to when medication abortion is permitted will also

harm patients if they are prohibited from accessing medication abortion either before an

intrauterine pregnancy can be seen on ultrasound or between ten and twelve weeks of

pregnancy. For some patients, medication abortion offers important advantages over

procedural abortion. Compl. ¶¶ 46–47. For example, victims of rape and people who have



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experienced sexual abuse, molestation, or other trauma may choose medication abortion to

feel more in control of the experience and avoid further trauma from having instruments

placed in their vagina. Id. ¶ 46. Additionally, some health care providers charge more for

procedural abortions. Id. ¶ 47. And some patients, especially victims of intimate partner

violence, may struggle to find necessary support, such as a ride home after a procedure

involving sedation. Id.

       The Hospitalization Requirement will also have devastating consequences for

sexual violence survivors. Thousands of North Carolinians suffer sexual abuse each year

and desperately need access to abortion. Farris Decl. ¶ 43. For many survivors of rape or

incest, pregnancy can trigger flashbacks, dissociative episodes, and other symptoms of

trauma. Id. The Hospitalization Requirement will limit the number of providers available

to these survivors and will increase the cost of abortion, thereby hampering access to

abortion. Id. ¶¶ 48–51. Further, survivors who present at an outpatient clinic after their

twelfth week of pregnancy will be forced to go to a hospital, causing further delays, even

though the outpatient clinic would be able to safely provide care. Id. ¶ 46.

                               QUESTIONS PRESENTED

1.     Are Plaintiffs likely to prevail on their claims that the Act violates the constitutional

rights of due process, equal protection, and speech?

2.     Will Plaintiffs and their patients suffer irreparable injury without preliminary

injunctive relief?

3.     Does the injury to Plaintiffs and their patients outweigh any injury to Defendants?



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4.         Is preliminary injunctive relief in the public interest?

                                           ARGUMENT

           A temporary restraining order or preliminary injunction is warranted upon a

showing that: “(1) the party is likely to succeed on the merits of the claim; (2) the party is

likely to suffer irreparable harm in the absence of an injunction; (3) the balance of hardships

weighs in the party’s favor; and (4) the injunction serves the public interest.” HIAS, Inc. v.

Trump, 985 F.3d 309, 318 (4th Cir. 2021). To satisfy the first prong, Plaintiffs “need not

establish a certainty of success,” but only “a clear showing that they are likely to succeed

at trial.” Roe v. U.S. Dep’t of Def., 947 F.3d 207, 219 (4th Cir. 2020) (cleaned up). Plaintiffs

readily meet this test.

     I.    Plaintiffs Are Likely to Succeed on the Merits of Their Claims That the Act
           Violates Plaintiffs’ and Their Patients’ Constitutional Rights.

           Plaintiffs are likely to succeed on the merits of their claims. First, several of the

Act’s provisions are vague in violation of the Due Process Clause: a) the Act effectively

repeals a cross-reference in the fetal homicide statute that exempts lawful abortions, b) the

Ten-Week Verification Requirement contradicts the Act’s primary provision permitting

both surgical and medication abortion through twelve weeks of pregnancy, c) the

Pregnancy Location Requirement is unclear as to whether physicians can provide

medication abortion when a patient has a positive pregnancy test but an intrauterine

pregnancy cannot yet be seen on an ultrasound, d) the Additional 72-Hour Mandate fails

to incorporate a medical emergency exemption, and e) the Additional 72-Hour Mandate

also creates confusion about whether the 72-hour period restarts if some of the required


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disclosures are not available at the initial visit.

       Second, two sections of the Act violate the Due Process Clause because they are

impossible to comply with: a) the Additional 72-Hour Mandate requires disclosure of

whether the abortion is covered by health insurance—information frequently unavailable

before a treatment or procedure—and b) the Reporting Requirement mandates information

on a deadline when that information is not yet available.

       Third, the Advising Ban is unconstitutionally vague under the Due Process Clause,

and, if interpreted to prohibit assisting people accessing lawful out-of-state abortion, it

violates the First Amendment.

       Finally, the Hospitalization Requirement and the Pregnancy Location Requirement

are irrational in violation of the Due Process and Equal Protections Clauses because there

is no rational basis for denying North Carolinians access to these evidence-based and safely

performed procedures, including in outpatient facilities.

           A. The Act’s Requirements Are Unconstitutionally Vague.

        “To survive a vagueness challenge, a statute must give a person of ordinary

intelligence adequate notice of what conduct is prohibited and must include sufficient

standards to prevent arbitrary and discriminatory enforcement.” Manning v. Caldwell for

Roanoke, 930 F.3d 264, 272 (4th Cir. 2019) (en banc); see also Grayned v. City of

Rockford, 408 U.S. 104, 108 (1972) (explaining that a law must provide “fair warning” by

giving “[a] person of ordinary intelligence a reasonable opportunity to know what is

prohibited, so that he may act accordingly”); Sessions v. Dimaya, 138 S. Ct. 1204, 1212



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(2018) (beyond guaranteeing “fair notice,” the void-for-vagueness doctrine also “guards

against arbitrary or discriminatory law enforcement by insisting that a statute provide

standards to govern the actions of police officers, prosecutors, juries, and judges”). The

Act may be unconstitutionally vague under either theory: lack of notice or lack of

standards. FCC v. Fox Television Stations, Inc., 567 U.S. 239, 253 (2012). Here, where

several sections of the Act “fail[] to provide any standard of conduct by which persons can

determine whether they are violating the statute,” the Act is “unconstitutionally vague.”

Manning, 930 F.3d at 274.9

                  1. The application of the fetal homicide statute to lawful abortion is
                     unconstitutionally vague.

       North Carolina’s fetal homicide statute makes it a crime, punishable by life in prison

without parole, to willfully and maliciously cause the death of an unborn child. N.C. Gen.

Stat. § 14-23.2. The statute currently exempts from the definition of fetal homicide “[a]cts

which cause the death of an unborn child if those acts were lawful,” N.C. Gen. Stat. § 14-



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          “The degree of vagueness that the Constitution tolerates—as well as the relative
importance of fair notice and fair enforcement—depends in part on the nature of the
enactment.” Vill. of Hoffman Ests. v. Flipside, Hoffman Ests., Inc., 455 U.S. 489, 498
(1982). Although “[l]ess clarity is required in purely civil statutes . . . laws that nominally
impose only civil consequences warrant a ‘relatively strict test’ for vagueness if the law is
‘quasi-criminal’ and has a stigmatizing effect.” Manning, 930 F.3d at 272–73. Where, as
here, some sections of the Act carry criminal penalties and others carry livelihood-
threatening licensing penalties, a stricter standard of review is applied. See id.; see also,
e.g., Little Rock Fam. Plan. Servs. v. Rutledge, 398 F. Supp. 3d 330, 415 (E.D. Ark. 2019)
(finding systemic harassment and stigma against abortion providers); Planned Parenthood
Se., Inc. v. Strange, 33 F. Supp. 3d 1330, 1339 n.4, 1349–52 (M.D. Ala.) (same), as
corrected (Oct. 24, 2014), supplemented, 33 F. Supp. 3d 1381 (M.D. Ala. 2014), and
amended, No. 2:13CV405-MHT, 2014 WL 5426891 (M.D. Ala. Oct. 24, 2014).

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23.7(1) (emphasis added), with a cross-reference to N.C. Gen. Stat. § 14-45.1. Section 14-

45.1, in turn, lists the conditions under which abortion is lawful. The Act repeals Section

14-45.1 but fails to replace the fetal homicide statute’s cross-reference to 14-45.1 with a

reference to the Act. S.B. 20(I) § 1.1. Due to this drafting error, the fetal homicide statute

will no longer include a reference to another law outlining when abortion is lawful and

therefore exempted from the fetal homicide statute.

       Once the repeal of Section 14-45.1 takes effect on July 1, Plaintiffs will lack notice

as to whether the fetal homicide statute applies to lawful abortion care. Fox, 567 U.S. at

253. Further, the Act leaves prosecutors without “explicit standards” to evaluate the

conduct of health care providers, risking “arbitrary and discriminatory” enforcement.

Grayned, 408 U.S. at 108. Particularly where, as here, criminal penalties apply, “a stricter

standard is applied in reviewing the statute for vagueness.” Manning, 930 F.3d at 272–73;

see also id. 276–77 (prohibiting “consign[ing] a person to the risk of significant penal

consequences without first providing sufficiently definite notice of prohibited activities”).

Accordingly, Plaintiffs are likely to succeed on the merits of their due process claim and

are entitled to an injunction against the Act.

                  2. The Ten-Week Verification and Pregnancy Location Requirements
                     are unconstitutionally vague.

       The Act fails to provide notice as to when medication abortion is lawful. First, in

the principal section, the Act states that abortion is lawful “during the first 12 weeks of a

woman’s pregnancy when a medical abortion is procured.” S.B. 20 § 90-21.81B(2).

However, when outlining requirements for medication abortion, the Ten-Week


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Verification Requirement mandates physicians “verify the probable gestational age of the

unborn child is no more than 70 days,” or ten weeks. Id. § 90-21.83B(a)(6). This provision

suggests that medication abortion is not permitted after ten weeks, despite the general

authorization of medication abortion for the first twelve weeks of pregnancy. Similarly, the

Pregnancy Location Requirement requires physicians to “[d]ocument in the woman’s

medical chart the . . . intrauterine location of the pregnancy,” id. § 90-21.83B(a)(7), even

though medication abortion is safely provided when a patient has a positive pregnancy test

but the pregnancy cannot yet be seen via ultrasound. Farris Decl. ¶ 41.

       This is not a situation of “uncertainty about the normal meaning of the term at issue,

but [is] rather about what specific conduct is covered by the statute and what is not,” which

is the core of a vagueness challenge. Manning, 930 F.3d at 274–75 (quoting Lytle v. Doyle,

326 F.3d 463, 469 (4th Cir. 2003)). By including two disparate standards, the Act “specifies

no standard of conduct,” giving Plaintiffs no notice as to whether they can provide early

medication abortion and medication abortion between the tenth and twelfth weeks of

pregnancy. See id. at 278. Further, the Act is vague, because these inconsistencies “invite[]

the very type of arbitrary enforcement that the Constitution’s prohibition against vague

statutes is designed to prevent.” Id. at 278.

       Allowing medication abortion to be provided from a positive pregnancy test through

the twelfth week of pregnancy is consistent with the structure and history of the Act. The

Act is framed as permitting abortion through the twelfth week of pregnancy, with limited

exceptions after that. S.B. 20 § 90-21.81B. Throughout the Act, restrictions on abortion



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hinge on that twelve-week mark. See, e.g., id. § 131E-153.1 (defining abortion clinic as

“[a] freestanding facility . . . for the performance of abortions during the first 12 weeks of

pregnancy” (emphasis added)); id. § 90-21.81A(a) (“It shall be unlawful after the twelfth

week of a woman’s pregnancy to advise, procure, or cause a miscarriage or abortion.”

(emphasis added)); id. § 90-21.81C(a), (b). Indeed, legislators supporting the Act

confirmed their intent to permit medication abortion through twelve weeks. Compl. ¶¶ 50–

51. Accordingly, Plaintiffs are likely to succeed on their claim that the Act violates their

due process rights.

                  3. The Additional 72-Hour Mandate is unconstitutionally vague.

       The Additional 72-Hour Mandate requires that, “at least 72 hours prior to any

medical or surgical abortion,” the patient be provided with “the physician’s full name and

specific information for the physician’s hospital admitting privileges and whether the

treatment or procedure to be performed is covered by the pregnant woman’s insurance.”

S.B. 20 § 90-21.83C. But that section does not incorporate the medical emergency

exemption to the 72-hour wait requirement found elsewhere in the Act, and it does not

clarify that the waiting period does not restart if certain information is not available 72

hours in advance.

       In contrast to the Additional 72-Hour Mandate’s silence as to whether required

disclosures can be waived in a medical emergency, the two sections of the Act specifically

discussing “[i]nformed consent to surgical abortion,” id. § 90-21.82, and “[i]nformed

consent to medical abortion,” id. § 90-21.83A, explicitly waive the required disclosures “in



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the case of a medical emergency.” Id. §§ 90-21.82(b), 90-21.83A(b). Because the

Additional 72-Hour Mandate does not explicitly incorporate by reference these medical

emergency waivers, it is unclear whether it can be waived in a medical emergency. The

lack of an emergency exception would be disastrous for patients’ health and lives.

       It is also unclear whether the Additional 72-Hour Mandate restarts if certain

required information is not known 72-hours in advance, in conflict with other parts of the

Act. Two sections of the Act explain that the waiting period does not restart if certain

specified information, such as the physician’s name and location of their admitting

privileges, is not available 72 hours before the abortion. S.B. 20 §§ 90-21.82(b)(1a), 90-

21.83A(b)(2). While the same information must be provided pursuant to the Additional 72-

Hour Mandate, that section is silent as to whether the waiting period must restart when the

information is not known; therefore it is unclear whether the 72-hour period would restart

if the physician’s name or location of admitting privileges changes in the 72 hours before

the abortion. Because of this internal conflict, Plaintiffs are likely to succeed on their claim

that the Additional 72-Hour Mandate is unconstitutionally vague.10




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          The Additional 72-Hour Mandate is riddled with errors and superfluous. See
also supra Part I.B. Indeed, there is significant overlap between the information that must
be disclosed to a patient in accordance with the Additional 72-Hour Mandate and that
must also be disclosed to patients pursuant to the other two informed consent sections
that include the medical emergency waiver; all three provisions require disclosure of the
physician’s name and admitting privileges. See §§ 90-21.83C, 90-21.82(b)(1a)(a.)
(name), 90-21.82(b)(1a)(g.) (admitting privileges), 90-21.83A(b) (b)(2)(a.) (name), 90-
21.83A(b)(2)(k.) (admitting privileges).

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          B. The Reporting Requirement and Additional 72-Hour Mandate Violate
             Due Process Because They Are Impossible to Comply With.

       It is impossible to comply with two sections of the Act: 1) the Reporting

Requirement, S.B. 20 § 90-21.93(a); and 2) the Additional 72-Hour Mandate’s required

disclosure about whether the abortion is covered by a patient’s insurance, id. § 90-21.83C.

“The law does not compel the doing of impossibilities.” Hughey v. JMS Dev. Corp., 78

F.3d 1523, 1530 (11th Cir. 1996) (citing Black’s Law Dictionary 912 (6th ed. 1990)). Laws

with which compliance is not possible fail to provide people with adequate notice as to

what is prohibited and lead to absurd results; and courts have a duty to construe laws to

avoid such results. See, e.g., United States v. X-Citement Video, Inc., 513 U.S. 64, 69–70

(1994); Hughey, 78 F.3d at 1529–30 (holding plaintiff’s claim under the Clean Water Act

failed because it was impossible for defendant to comply with the applicable standard). For

example, in a case addressing abortion restrictions, the Seventh Circuit affirmed a

preliminary injunction of a Wisconsin law that required doctors who provide abortion to

have admitting privileges at a local hospital in part because it was impossible to comply

with the law. Planned Parenthood of Wisconsin, Inc. v. Van Hollen, 738 F.3d 786, 788–89

(7th Cir. 2013) (“[t]he impossibility of compliance with the statute even by doctors fully

qualified for admitting privileges is a compelling reason for the preliminary injunction”);

see also Doe v. Snyder, 101 F. Supp. 3d 722, 724–25 (E.D. Mich. 2015) (holding law

requiring registered sex offenders to have a state identification card violates due process as

applied to unhoused plaintiff because it is impossible to obtain a state identification without

a residence).


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       Here, compliance with the Reporting Requirement is impossible. It requires

Plaintiffs to submit a “completed report” to the Department of Health and the Division of

Social Services three days after a minor’s abortion including whether they returned for a

follow-up visit that must be scheduled seven to fourteen days after the medication abortion,

S.B. 20 §§ 90-21.93(a), b(8) & (9), 90-21.83A(b)(4)(l.), 90-21.83B(b), and include how

much money was billed to cover treatment for complications, id. § 90-21.93(b)(11), which

may arise more than three days after the abortion.

       Additionally, for many patients it will be impossible for Plaintiffs to comply with

the Additional 72-Hour Mandate’s requirement that the patient be informed of whether the

abortion is covered by insurance 72 hours before the abortion. Insurance companies will

often not determine whether a procedure is covered until after it is performed, and initial

approval of a procedure is not a final determination as to whether the procedure is actually

covered; insurance companies may later reject claims they had initially indicated would be

covered. Compl. ¶ 67. For these reasons, Plaintiffs are likely to succeed on their claim that

it is impossible to comply with these provisions.

          C. The Advising Ban is Unconstitutional.

       The Act makes it “unlawful after the twelfth week of a woman’s pregnancy to

advise, procure, or cause a miscarriage or abortion.” S.B. 20 § 90-21.81A(a). As written,

the Advising Ban is unconstitutionally vague, as it is not clear whether it prohibits people

from assisting others to obtain abortions after the twelfth week of pregnancy in other states

where such care is lawful. Moreover, to the extent that the Advising Ban prohibits



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providing information intended to help others access abortion care in other states where it

is lawful, it violates the First Amendment.

                 1. The Advising Ban Violates the Due Process Clause.

       The Advising Ban fails to give notice as to whether Plaintiffs may assist people in

obtaining abortions after the twelfth week of pregnancy in other states where such care is

lawful. The Advising Ban’s terms “do not explain the law’s scope or limit the discretion

of those charged with enforcing it,” to make clear this prohibition only applies to abortions

unlawful under North Carolina law. Carolina Youth Action Project v. Wilson, 60 F.4th 770,

783 (4th Cir. 2023). The “‘test of vagueness applies with particular force in review of laws

dealing with speech.’” Id. at 781 (quoting Hynes v. Mayor of Oradell, 425 U.S. 610, 620

(1976)). This provision directly implicates speech, so the “twin concerns of inadequate

notice and arbitrary or discriminatory enforcement are especially pronounced.” Edgar v.

Haines, 2 F.4th 298, 316 (4th Cir. 2021) (internal quotation marks omitted).

                 2. Given its Vagueness, the Advising Ban Must Be Interpreted in a
                    Manner That Avoids Violating the First Amendment.

       The government may not regulate speech because of its message, ideas, subject

matter, or content, and laws that do so are presumptively unconstitutional. Reed v. Town of

Gilbert, 576 U.S. 155, 163 (2015). Such restrictions are subject to strict scrutiny, which

requires the government to prove that the restriction is narrowly tailored to serve a

compelling state interest. Id. at 163–64. Speech restrictions are even more egregious when

the government targets particular views taken by speakers on a subject (rather than

targeting all views on a given subject). Rosenberger v. Rector & Visitors of Univ. of Va.,


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515 U.S. 819, 829 (1995). Any interpretation of the Advising Ban that prohibits, for

example, providing information about how to obtain legal, out-of-state abortions is a

content- and viewpoint-based speech restriction that furthers no legitimate government

interest, much less a compelling one, and is not narrowly tailored.11

       There is no question that the Advising Ban is a content- and viewpoint-based

restriction on speech because it silences people on the sole topic of abortion and only

prohibits people from providing information and assistance to patients seeking abortion

care in places where it is lawful but does not apply to other out-of-state, pregnancy-related

services like prenatal care or anti-abortion counseling. It is, therefore, subject to strict

scrutiny, but it furthers no legitimate state interest, much less a compelling one. North

Carolina has no compelling interest in preventing people from providing information about

medical treatments that are legal and available in other states or helping others access those

treatments. See Bigelow v. Virginia, 421 U.S. 809, 827–28 (1975) (explaining that state’s

“asserted interest” “in shielding its citizens from information about activities outside [its]

borders, activities that [its] police powers do not reach” is “entitled to little, if any weight”).

North Carolina “may not, under the guise of exercising internal police powers, bar”

Plaintiffs “from disseminating information about an activity that is legal” in another state.


       11
          Plaintiffs seek an order ensuring their right to assist individuals who
seek lawful abortions outside of North Carolina. However, to the extent that this section
prohibits an individual from advocating for or urging another person to obtain an
unlawful abortion, it likely violates the First Amendment. See Brandenburg v. Ohio, 395
U.S. 444, 449 (1969) (First Amendment protects “mere advocacy” of unlawful
action); United States v. Miselis, 972 F.3d 518, 533–38 (4th Cir. 2020) (striking down
statutory proscription on “urging” a riot).

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Id. at 824–25.

       Even if the Advising Ban’s content and viewpoint discriminatory censorship served

a compelling interest (which it does not), Defendants cannot prove that it is narrowly

tailored to further that interest because it sweeps in a large swath of obviously protected

speech. See Ariz. Free Enter. Club’s Freedom Club PAC v. Bennett, 564 U.S. 721, 734

(2011) (government bears burden of proof). When a plaintiff offers a plausible, less-

restrictive alternative—here, that the Advising Ban does not apply to helping people obtain

abortions out of state where abortion is lawful—“it is the Government’s obligation to prove

that the alternative will be ineffective to achieve its goals.” United States v. Playboy Ent.

Grp., Inc., 529 U.S. 803, 816 (2000).

           D. The Hospitalization Requirement and the Pregnancy Location
              Requirement are Irrational.

                  1. The Hospitalization Requirement.

       The Act’s requirement that abortions for survivors of rape and incest after the

twelfth and through the twentieth week of pregnancy be performed in a hospital violates

substantive due process and equal protection. See S.B. 20 § 90-21.81B(3). These patients

have the substantive due process right to medical treatment, including abortion care, and

restrictions on this right are subject to rational basis review. See Doe v. Settle, 24 F.4th 932,

943–44, 955 (4th Cir. 2022) (“A substantive due process challenge is considered under

rational-basis review unless some fundamental right is implicated.”). The Hospitalization

Requirement lacks any medical basis or common-sense justification, and it bears no




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plausible relationship to any legitimate government interest.

       Procedural abortion is as safe as, or safer than, a wide range of other medical

procedures—including vasectomies, colonoscopies, wisdom tooth extraction, and

tonsillectomies—that are routinely performed on an outpatient basis. Farris Decl. ¶ 29.

Nationwide, 97% of abortions are provided in the outpatient setting, yielding an enormous

volume of data establishing beyond any doubt the safety of outpatient abortion care. Id. ¶

32. Consistent with this data, the National Academies of Sciences, Engineering, Medicine,

as well as major medical associations, have made clear that requirements that abortions be

provided in hospitals lack any scientific or medical basis. Id. ¶ 33. In fact, fewer

complications are seen in settings that perform higher volumes of the same procedure,

making abortion clinics like PPSAT safer than hospitals for most abortion patients. Id. ¶

34.

       The Supreme Court has repeatedly recognized that hospitalization requirements for

abortion serve no legitimate health and safety interest. See e.g., Whole Woman’s Health v.

Hellerstedt, 136 S.Ct. 2292, 2315 (2016) (striking ambulatory surgical center requirement

for abortion and recognizing “well supported” district court finding that “requiring all

abortion facilities to meet all surgical-center standards does not benefit patients and is not

necessary”); City of Akron v. Akron Ctr. for Reprod. Health, Inc., 462 U.S. 416, 435–37 &

n.25 (1983) (striking down second trimester abortion hospitalization requirement);

Planned Parenthood Ass’n of Kan. City, Inc. v. Ashcroft, 462 U.S. 476, 481–82 (1983)

(same); Doe v. Bolton, 410 U.S. 179, 195 (1973) (same). Although these holdings that such



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restrictions violate patients’ Fourteenth Amendment right to choose abortion have been

overruled by Dobbs v. Jackson Women’s Health Org., 142 S. Ct. 2228 (2022), the factual

findings that hospitalization requirements for abortion do not serve any interest in patient

health and safety were not. These cases demonstrate that the Hospitalization Requirement

is not based on “reasonable speculation,” a “plausible reason,” or a “conceivable basis.”

Settle, 24 F.4th at 943–44. The irrationality of the Hospitalization Requirement is further

underscored by the fact that it applies only to survivors of rape and incest, who are often

the most desperate to terminate a pregnancy and who face unique barriers to accessing care,

see supra Statement of Facts, Part III. There is no rational reason to force patients who

have undergone trauma to seek abortion care at hospitals when they could go to outpatient

clinics, which are generally cheaper, more accessible, and just as safe.

       Absent a health-related justification or an interest in protecting potential life,12 the

only remaining justification for the Hospitalization Requirement is a “bare desire to harm”

certain patients, which is not a legitimate state interest. City of Cleburne v. Cleburne Living

Ctr., 473 U.S. 432, 447, 450 (1985); see also U.S. Dep’t of Agric. v. Moreno, 413 U.S. 528,

534 (1973). As the Fourth Circuit has recognized, “[a]bortion may well be a special case”

in some regards, “but it cannot be so special a case that all other professional rights and

medical norms go out the window.” Stuart v. Camnitz, 774 F.3d 238, 255–56 (4th Cir.

2014). Where, as here, the gulf between a legislature’s action and “the realities of the


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         There can be no such interest for the Hospitalization Requirement as the General
Assembly has authorized abortions for survivors of rape and incest from the twelfth
through the twentieth week of pregnancy.

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subject addressed by the legislation” is vast, Heller v. Doe, 509 U.S. 312, 321 (1993), the

challenged provision fails rational basis review. Because the Hospitalization Requirement

fails rational basis scrutiny, it violates Plaintiffs’ and their patients’ substantive due process

rights.

          The Hospitalization Requirement also violates equal protection because it

irrationally singles out physicians who provide and patients who seek abortion for

differential treatment, as compared to those providing and seeking miscarriage

management. See Van Hollen, 738 F.3d at 790 (“An issue of equal protection of the laws

is lurking in this case. For the state seems indifferent to complications from non-hospital

procedures other than surgical abortion (especially other gynecological procedures), even

when they are more likely to produce complications.”); Planned Parenthood of Ind. & Ky.,

Inc. v. Comm’r, Ind. Dep’t of Health, 64 F. Supp. 3d 1235, 1257 (S.D. Ind. 2014)

(“[Supreme Court precedent] does not . . . authorize the unequal treatment of those

providing the exact same procedure, without a rational basis, and equal protection demands

otherwise.”).

          The procedures used for abortion are also used to manage miscarriage, which are

routinely provided in an outpatient setting, and are permitted by the Act. Farris Decl. ¶¶ 9,

22, 26. There is no rational basis for prohibiting a procedure in an outpatient setting if the

patient is experiencing an inevitable miscarriage, but fetal demise has not yet occurred,

while allowing the exact same procedure, with an identical risk profile, for the same patient

in an outpatient setting after demise has occurred. Id. There is also no rational basis for



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prohibiting outpatient procedural abortion when analogous gynecological procedures like

inserting or removing an intrauterine device (which has a higher risk of uterine perforation

than aspiration abortion), and loop electrosurgical excision procedures (a technique used

to diagnose and treat potentially cancerous cervical cells) are routinely performed in

outpatient clinics. Id. ¶ 37. Under the Act, outpatient facilities will still be permitted to

provide miscarriage care after twelve weeks of gestational age—which as noted above, is

identical to abortion care—so there is no rational reason to prevent them from providing

abortions to survivors of rape and incest at twelve to twenty weeks of pregnancy. As a

result, the Hospitalization Requirement violates equal protection.

                 2. The Pregnancy Location Requirement.

       If interpreted to ban early medication abortion, the Pregnancy Location

Requirement is also irrational. Providing early medication abortion when a patient has a

positive pregnancy test but the pregnancy cannot be visualized on ultrasound is a safe,

evidence-based practice which the State would have no legitimate reason to bar.

       Some patients present for abortions at very early gestational ages, and early abortion

care is all the more important in light of the Twelve-Week Ban. Farris Decl. ¶ 41. At early

stages of a pregnancy, it may be too soon to see an intrauterine gestational sac via

ultrasound. Id. In such cases, abortion providers follow established protocols for safely

administering medication abortion, which have been shown to be safe and effective. Id.

       Because there is no medical reason for denying medication (but not procedural)

abortion care to patients with pregnancies that are too early to see via ultrasound, doing so



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does not serve any governmental interest in health or safety. In fact, it does the opposite:

forcing patients to wait until a later gestational age before getting a medication abortion

unnecessarily exposes them to increased medical risk. Farris Decl. ¶ 11. Patients will be

further harmed because they may have strong reasons for choosing medication abortion

over procedural abortion. Compl. ¶¶ 46–47. And the Pregnancy Location Requirement

does not further any state interest in protecting potential life because a patient denied a

medication abortion because the pregnancy cannot be seen via ultrasound can still get a

procedural abortion or return later to get a medication abortion.

                               *              *             *

       Accordingly, Plaintiffs are likely to succeed on the merits of their claim that the Act

violates their due process and equal protection rights guaranteed under the Fourteenth

Amendment.

II.    Plaintiffs Will Suffer Irreparable Harm Absent Immediate Injunctive Relief.

       Absent injunctive relief, Plaintiffs and their patients will suffer irreparable harm.

The Act will deprive them of their constitutional rights to free speech, due process, and

equal protection, which “unquestionably constitutes irreparable injury.” Leaders of a

Beautiful Struggle v. Balt. Police Dep’t, 2 F.4th 330, 346 (4th Cir. 2021) (en banc) (internal

quotation marks omitted). This alone is sufficient to establish irreparable harm.

       The challenged provisions also impose additional harms that “impair[] a court’s

ability to grant an effective remedy, such as a harm that cannot be compensated by money

damages at a later trial.” Int’l Refugee Assistance Project v. Trump, 265 F. Supp. 3d 570,



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629 (D. Md. 2017), aff’d, 883 F.3d 233 (4th Cir. 2018). The Act will harm Plaintiffs and

their patients by delaying, or even denying, necessary health care. Compl. ¶¶ 62–64; see

generally Statement of Facts, Part III. If there is no medical emergency exception to the

required patient disclosures, the Act could put patients at risk of gratuitous suffering, severe

injury, and even death. Compl. ¶ 66. The Act will also harm patients by denying them safe,

evidence-based access to medication abortion through twelve weeks of pregnancy. See

Compl. ¶¶ 46–47. The greater logistics of a procedural abortion may be prohibitive for

some patients, especially victims of intimate partner violence. Compl. ¶ 47. And the Act’s

Hospitalization Requirement will limit the number of providers available to survivors of

rape and incest, potentially force retraumatization, and increase the cost of abortion,

thereby hampering these patients’ access to abortion. Farris Decl. ¶¶ 48–51.

        These harms include risks to patients’ health, wellbeing, and ability to access

necessary health care. If allowed to go into effect in its current form, the Act will

irreparably harm Plaintiffs and their patients.

III.    The Balance of Equities and Public Interest Weigh Strongly in Favor of an
        Injunction.

        Finally, the balance of equities and public interest likewise weigh heavily in favor

of injunctive relief. While Plaintiffs and their patients will suffer grave harm in the absence

of an injunction, Defendants are “in no way harmed by issuance of a preliminary injunction

which prevents [them] from enforcing” a law that “is likely to be found unconstitutional.”

Newsom ex rel. Newsom v. Albemarle Cnty. Sch. Bd., 354 F.3d 249, 261 (4th Cir. 2003);

see also Legend Night Club v. Miller, 637 F.3d 291, 303 (4th Cir. 2011) (“upholding


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constitutional rights is in the public interest”). Not only would an injunction preserve

constitutional rights, it would also preserve North Carolinians’ health and safety by

allowing pregnant people to access care without these restrictions and by ensuring

Plaintiffs’ ability to continue to provide abortion care, as set forth above. See Fruth, Inc. v.

Pullin, 2015 WL 9451066, at *8 (S.D. W. Va. Dec. 23, 2015) (observing that “an injunction

here will safeguard the public health and thereby serve the public interest”).

IV.    The Bond Should Be Waived.

       Because Defendants will suffer no harm under Plaintiffs’ proposed preliminary

injunction, and because this case implicates fundamental constitutional rights, the Court

should exercise its “discretion to . . . waive the security requirement” under Federal Rule

of Civil Procedure 65(c) or, in the alternative, set a nominal bond of $100.00. Pashby v.

Delia, 709 F.3d 307, 322 (4th Cir. 2013); see also Sogefi USA, Inc. v. Interplex Sunbelt,

Inc., 538 F. Supp. 3d 620, 631 (S.D. W. Va. 2021); Citizens for a Responsible Curriculum

v. Montgomery Cnty. Pub. Sch., 2005 WL 1075634, at *12 (D. Md. May 5, 2005).

                                      CONCLUSION

       For the foregoing reasons, this Court should grant Plaintiffs’ motion for a temporary

restraining order and preliminary injunction restraining Defendants, their employees,

agents, delegates, and successors in office, and all those acting in concert with them, from

enforcing or facilitating the entirety of Part I and the Hospitalization Requirement of Part

II of the Act. These provisions of the Act that will take effect on July 1 should be enjoined

in their entirety because Plaintiffs’ due process claim based on the application of the fetal



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homicide statute to lawful abortion reaches the constitutionality of the Act as whole, and

enjoining the other unconstitutional provisions would leave a statute unlike what the

legislature intended to be enforced on its own, as they are intertwined with the core purpose

of the Act. Plaintiffs further request that the Court waive the requirement for bond or

security.


Dated: June 21, 2023

       Respectfully submitted,

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                        CERTIFICATE OF WORD COUNT

      Relying on the word count function of Microsoft Word, I hereby certify that this

brief is 8,183 words in length and, therefore, complies with the word limitation of 8,500

words requested in the Plaintiffs’ consent motion to extend word limits, dated June 21,

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                              CERTIFICATE OF SERVICE

      I hereby certify that, on June 21, 2023, I electronically filed the foregoing with the

clerk of the court by using the CM/ECF system, which will send a notice of electronic

filing, and will also serve this motion on counsel for Defendants via email, as well as via

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